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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

     ASTELLAS US LLC, ASTELLAS
     PHARMA US, INC. and GILEAD
     SCIENCES, INC.,
                                Plaintiffs,           C.A. No. 18-1675 (CFC)
                                                           (Consolidated)
                  v.
     HOSPIRA, INC,
                                Defendant.

                                     INJUNCTION ORDER

          The Court having considered Plaintiffs' Rule 62(d) Motion to Enjoin Hospira

    from Launching Its Generic Product While Appeal is Pending ("Motion"), the

    opposition brief filed by Defendant Hospira, Inc. ("Hospira"), and Plaintiffs' reply

    in support of their Motion, finds that grounds do not exist to grant the relief sought

    by Plaintiffs in their Motion:

          IT IS HEREBY ORDERED that Plaintiffs' motion is GRANTED-IN-PART

    and DENIED-IN-PART:

          1.     The relief requested by Plaintiffs in their Motion is denied.

          2.     Nevertheless, to allow Plaintiffs time to file a motion with the U.S.

    Court of Appeals for the Federal Circuit seeking preliminary injunctive relief under

    Federal Rule of Appellate Procedure 8 (and Federal Circuit Rule 8), the Court

    exercises its discretion to temporarily enjoin Hospira, conditioned on paragraph 3


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    below, from commercially marketing its regadenoson ANDA product until October

    5, 2022.

          3.    The injunction entered in paragraph 2 shall not be effective unless

    Plaintiffs post a bond in the amount of$9.5 million by September 30, 2022.


    SO ORDERED this Twenty-second day of September 2022.




                                                Chief Judge, United States D ·




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